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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

STEPHEN SULLIVAN, WHITE OAK FUND LP,
CALIFORNIA STATE TEACHERS’ RETIREMENT
SYSTEM, SONTERRA CAPITAL MASTER FUND,           Docket No. 13-cv-02811 (PKC)
LTD., FRONTPOINT PARTNERS TRADING
FUND, L.P., AND FRONTPOINT AUSTRALIAN
OPPORTUNITIES TRUST on behalf of themselves
and all others similarly situated,
                                 Plaintiffs,

                  - against -

BARCLAYS PLC, BARCLAYS BANK PLC, BARCLAYS
CAPITAL INC., BNP PARIBAS S.A., CITIGROUP,
INC., CITIBANK, N.A., COÖPERATIEVE
CENTRALE RAIFFEISEN-BOERENLEENBANK
B.A., CRÉDIT AGRICOLE S.A., CRÉDIT AGRICOLE
CIB, DEUTSCHE BANK AG, DB GROUP SERVICES
UK LIMITED, HSBC HOLDINGS PLC, HSBC BANK
PLC, ICAP PLC, ICAP EUROPE LIMITED, J.P.
MORGAN CHASE & CO., JPMORGAN CHASE
BANK, N.A., THE ROYAL BANK OF SCOTLAND
PLC, SOCIÉTÉ GÉNÉRALE SA, UBS AG AND JOHN
DOE NOS. 1-50,
                         Defendants.



                       [PROPOSED] FINAL JUDGMENT
    AND ORDER OF DISMISSAL WITH PREJUDICE OF BARCLAYS PLC, BARCLAYS
     BANK PLC, BARCLAYS CAPITAL INC., DEUTSCHE BANK AG AND DB GROUP
        SERVICES (UK) LTD., HSBC HOLDINGS PLC AND HSBC BANK PLC




 
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              This matter came for a duly-noticed hearing on May 18, 2018, upon the Plaintiffs’1 Motion

for Final Approval of Settlements with Barclays plc, Barclays Bank plc, and Barclays Capital, Inc.

(collectively, “Barclays”), Deutsche Bank AG and DB Group Services (UK) Ltd. (collectively,

“Deutsche Bank”) and HSBC Holdings plc and HSBC Bank plc (collectively, “HSBC” and, together

with Barclays and Deutsche Bank, the “Settling Defendants”) in the action captioned Sullivan v.

Barclays plc et al., No. 13-cv-2811 (PKC) (S.D.N.Y.) (the “Action”), which was consented to by the

Settling Defendants (together with Plaintiffs, the “Parties”). The Court having considered all papers

filed and proceedings had herein and otherwise being fully informed in the premises and good cause

appearing therefor,

              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

              1.             This Final Judgement hereby incorporates by reference the definitions in the

Settlement Agreement between Plaintiffs and Barclays dated October 7, 2015 (the “Barclays

Settlement Agreement”); (2) the separate Settlement Agreement between Plaintiffs and Deutsche

Bank entered into on May 10, 2017 (the “Deutsche Bank Settlement Agreement”); and (3) the

separate Settlement Agreement between Plaintiffs and HSBC entered into on December 27, 2016

(the “HSBC Settlement Agreement,” and together with the Barclays Settlement Agreement and

Deutsche Bank Settlement Agreement, the “Settlement Agreements”) and all terms used herein,

except as otherwise expressly defined herein, shall have the same meanings as set forth in the

Settlement Agreements.

              2.             The Action, including each claim in the Action, is hereby dismissed with prejudice

on the merits as to Barclays, Deutsche Bank and HSBC and without fees or cost.


                                                            
1 The Plaintiffs are the California State Teachers’ Retirement System (“CalSTRS”), Stephen Sullivan, White Oak Fund

LP, Sonterra Capital Master Fund, Ltd., FrontPoint Partners Trading Fund, L.P., and FrontPoint Australian
Opportunities Trust.




 
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              3.             Upon the Settlements becoming final in accordance with their terms, all of the

following claims shall be released. Specifically, the Releasors,2 and any other Person claiming against

the Settlement Fund (now or in the future) through or on behalf of any Releasor, shall be deemed to

have, and by operation of the Judgment shall have, fully, finally and forever released, relinquished

and discharged Releasees3 from:

                                                            
2   With respect to Barclays:
              “Releasors” means Plaintiffs and each and every Settlement Class Member on their own behalf and on behalf
              of their respective predecessors, successors and assigns, direct and indirect parents, subsidiaries and affiliates,
              their current and former officers, directors, employees, agents, fiduciaries, beneficiaries or legal representatives,
              and the predecessors, successors, heirs, executors, administrators and assigns of each of the foregoing, and any
              other Person legally entitled to bring Released Claims on their behalf or by reason of their relationship to any
              of the foregoing Persons. With respect to any Settlement Class Member that is a government entity, Releasor
              includes any Settlement Class Member as to which the government entity has the legal right to release such
              claims. As used in this provision, “affiliates” means entities controlling, controlled by, or under common
              control with a Releasor.

Barclays Settlement Agreement ¶ 1.35.

With respect to Deutsche Bank:
              “Releasors” means Plaintiffs and each and every Settlement Class Member on their own behalf and on behalf
              of their respective predecessors, successors and assigns, direct and indirect parents, subsidiaries and affiliates,
              and on behalf of their current and former officers, directors, employees, agents, principals, members, trustees,
              participants, representatives, fiduciaries, beneficiaries or legal representatives in their capacities as such, and the
              predecessors, successors, heirs, executors, administrators and assigns of each of the foregoing in their capacities
              as such. With respect to any Settlement Class Member that is a government entity, Releasor includes any
              Settlement Class Member as to which the government entity has the legal right to release such claims. As used
              in this provision, “affiliates” means entities controlling, controlled by, or under common control with a
              Releasor.

Deutsche Bank Settlement Agreement ¶ 1.32.

With respect to HSBC:
              “Releasors” means Plaintiffs and each and every Settlement Class Member on their own behalf and on behalf
              of their respective predecessors, successors and assigns, direct and indirect parents, subsidiaries and affiliates,
              their current and former officers, directors, employees, agents, fiduciaries, beneficiaries or legal representatives,
              and the predecessors, successors, heirs, executors, administrators and assigns of each of the foregoing, and any
              other Person legally entitled to bring Released Claims on their behalf or by reason of their relationship to any
              of the foregoing Persons. With respect to any Settlement Class Member that is a government entity, Releasor
              includes any Settlement Class Member as to which the government entity has the legal right to release such
              claims. As used in this provision, “affiliates” means entities controlling, controlled by, or under common
              control with a Releasor. For the avoidance of doubt, the Releasors include all persons entitled to bring claims
              on behalf of Settlement Class Members relating to their transactions in Euribor Products.

HSBC Settlement Agreement ¶ 1.32.
3   With respect to Barclays:
 

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                      A. With respect to the Barclays Settlement Agreement:

                             All claims, rights, demands, suits, matters, issues or causes of action that were
                             asserted in the Action by the Plaintiffs, or that have arisen, could have arisen, arise
                             now or relate in any manner to the subject matter of the claims that were asserted by
                             the Plaintiffs in the Action relating to Euribor or Euribor Products, and expressly
                             includes (a) any such claims based upon, arising out of or relating to the acts, facts or
                             events described in or underlying the FSA Settlement, the NPA, the CFTC Order,
                             the DOJ Immunity and/or the EC Immunity; and (b) any such claims arising out of
                             or relating to the Action. The following claims shall not be released by this
                             Settlement: (i) any claims against former Barclays employees arising from those
                             former employees’ conduct that occurred while not employed by Barclays or not
                             otherwise acting within the scope of employment or agency of Barclays; (ii) any
                             claims against the named Defendants in this Action other than Barclays; or (iii) any
                             claims against inter-dealer brokers or their employees or agents when and to the
                             extent they were engaged as employees or agents of the other Defendants or inter-
                             dealer brokers.

                      B. With respect to the Deutsche Bank Settlement Agreement:


                                                                                                                                                                                                
              “Releasees” means Barclays, its predecessors, successors and assigns, its direct and indirect parents, subsidiaries
              and affiliates, and its respective current and former officers, directors, employees, managers, members,
              partners, agents (in their capacity as agents of Barclays), shareholders (in their capacity as shareholders of
              Barclays), attorneys, or legal representatives, and the predecessors, successors, heirs, executors, administrators
              and assigns of each of the foregoing. “Affiliates” in this provision means entities controlling, controlled by, or
              under common control with a Releasee.

Barclays Settlement Agreement ¶ 1.34.

With respect to Deutsche Bank:
              “Releasees” means Deutsche Bank, its predecessors, successors and assigns, its direct and indirect parents,
              subsidiaries and affiliates, and its respective current and former officers, directors, employees, managers,
              members, partners, agents (in their capacity as agents of Deutsche Bank), shareholders (in their capacity as
              shareholders of Deutsche Bank), attorneys, or legal representatives, and the predecessors, successors, heirs,
              executors, administrators, and assigns of each of the foregoing. As used in this provision, “affiliates” means
              entities controlling, controlled by, or under common control with a Releasee.

Deutsche Bank Settlement Agreement ¶ 1.31.

With respect to HSBC:
              “Releasees” means HSBC, their predecessors, successors and assigns, their direct and indirect parents, direct
              and indirect subsidiaries and direct and indirect affiliates, and their respective current and former officers,
              directors, employees, managers, members, partners, agents (in their capacity as agents of HSBC or its affiliates
              or subsidiaries), shareholders (in their capacity as shareholders of HSBC or its affiliates or subsidiaries),
              attorneys, or legal representatives, and the predecessors, successors, heirs, executors, administrators and assigns
              of each of the foregoing. “Affiliates” in this provision means entities controlling, controlled by, or under
              common control with a Releasee. For the avoidance of doubt, HSBC France is a Releasee.

HSBC Settlement Agreement ¶ 1.31.


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                All claims, rights, demands, suits, matters, issues or causes of action, in law or in
                equity, that were asserted in the Action by the Plaintiffs, or that have arisen, could
                have arisen, arise now or relate in any manner to the subject matter of the claims that
                were asserted by the Plaintiffs in the Action relating to Euribor or Euribor Products
                including, but not limited to, any alleged manipulation of Euribor under the
                Commodity Exchange Act, 7 U.S.C. § 1 et seq., or any other statute, regulation, or
                common law, or any purported conspiracy, collusion, racketeering activity, or other
                improper conduct relating to Euribor (including, but not limited to, all claims under
                Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1 et seq., the Racketeer
                Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961-1968, and any other
                federal or state statute, regulation, or common law). The following claims shall not
                be released by this Settlement: (i) any claims against former Deutsche Bank
                employees arising from those former employees’ conduct that occurred while not
                employed by Deutsche Bank; (ii) any claims against the named Defendants in this
                Action other than Deutsche Bank; (iii) any claims against inter-dealer brokers or their
                employees or agents when and to the extent they were engaged as employees or
                agents of the other Defendants or inter-dealer brokers; or (iv) any claims against any
                defendant who may be subsequently added in this Action. For the avoidance of
                doubt, Released Claims does not include claims arising under foreign law based on
                transactions executed entirely outside the United States by Settlement Class Members
                domiciled outside the United States.

             C. With respect to the HSBC Settlement Agreement:

                All claims, rights, demands, suits, matters, issues or causes of action that were
                asserted in the Action by the Plaintiffs, or that have arisen, could have arisen, arise
                now or relate in any manner to the subject matter of the claims that were asserted by
                the Plaintiffs in the Action relating to Euribor or Euribor Products including, but
                not limited to, any alleged manipulation of Euribor under the Commodity Exchange
                Act, 7 U.S.C. § 1 et seq., or any purported conspiracy, collusion, racketeering activity,
                or other improper conduct relating to Euribor (including, but not limited to, all
                claims under Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1 et seq., the
                Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961-1968, and
                any other federal or state statute or common law). The following claims shall not be
                released by this Settlement: (i) any claims against former HSBC employees arising
                from those former employees’ conduct that occurred while not employed by HSBC
                or not otherwise acting within the scope of employment or agency of HSBC; (ii) any
                claims against the named Defendants in this Action other than HSBC; or (iii) any
                claims against inter-dealer brokers or their employees or agents when and to the
                extent they were engaged as employees or agents of the other Defendants or inter-
                dealer brokers. For the avoidance of doubt, Released Claims does not include claims
                arising under foreign law based on transactions executed entirely outside the United
                States by Settlement Class Members domiciled outside the United States.

        4.      This release constitutes a waiver of Section 1542 of the California Civil Code (to the

extent it applies to the Action), which provides as follows:


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                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
                THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN
                HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
                RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
                MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
                DEBTOR.

The release also constitutes a waiver of any and all provisions, rights, and benefits of any federal,

state or foreign law, rule, regulation, or principle of law or equity that is similar, comparable,

equivalent to, or which has the effect of, Section 1542 of the California Civil Code.

             A. With respect to the Barclays and HSBC Settlement Agreements, the Releasors
                acknowledge that they are aware that they may hereafter discover facts in addition to,
                or different from, those facts which they know or believe to be true with respect to
                the subject matter of this Agreement, but that it is their intention to release fully,
                finally, and forever all of the Released Claims, and in furtherance of such intention,
                the release shall be irrevocable and remain in effect notwithstanding the discovery or
                existence of any such additional or different facts. In entering and making this
                Agreement, the Releasors assume the risk of any mistake of fact or law, and the
                release shall be irrevocable and remain in effect notwithstanding any mistake of fact
                or law.

             B. With respect to the Deutsche Bank Settlement, the Settlement Class Members
                acknowledge that they are aware that they may hereafter discover facts in addition to,
                or different from, those facts which they know or believe to be true with respect to
                the subject matter of this Agreement, but that it is their intention to release fully,
                finally, and forever all of the Released Claims, and in furtherance of such intention,
                the release shall be irrevocable and remain in effect notwithstanding the discovery or
                existence of any such additional or different facts. In entering and making this
                Agreement, the Settling Parties assume the risk of any mistake of fact or law, and the
                release shall be irrevocable and remain in effect notwithstanding any mistake of fact
                or law.

        5.      The Court, finding no just reason for delay, directs pursuant to Rule 54(b) of the

Federal Rules of Civil Procedure that the judgment of dismissal as to Barclays, Deutsche Bank, and

HSBC shall be final and entered forthwith.




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    IT IS SO ORDERED.

    Signed this ___ day of _________, 2018.



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                                                  Honorable P. Kevin Castel
                                                  United States District Judge




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